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                                                 U.S. Department of Justice


                                                 United States Attorney
                                                 Eastern District of New York
RCH/JP/JS/AXB                                    610 Federal Plaza
F. #2022R01030                                   Central Islip, New York 11722



                                                 August 21, 2023

By ECF

The Honorable Joanna Seybert
United States District Judge
Eastern District of New York
100 Federal Plaza
Central Islip, New York 11722

              Re:     United States v. Samuel Miele
                      Criminal Docket No. 23-327 (JS)

Dear Judge Seybert:

               The government respectfully writes in the above-captioned matter to request
that the Court enter an order of excludable delay pursuant to Title 18, United States Code,
Section 3161(h)(7)(A) from today’s date through September 5, 2023. The defendant joins in
this request.

               By way of background, on August 15, 2023, a grand jury sitting in the Eastern
District of New York returned an indictment charging the defendant with four counts of wire
fraud and one count of aggravated identity theft. The following day, the defendant
surrendered to law enforcement authorities and was arraigned on the indictment. At that
time, the defendant did not consent to the entry of an order of excludable delay under Title
18, United States Code, Section 3161(h)(7)(A).

               Since that date, the parties have engaged in meaningful discussions about
possible dispositions of this matter without the need for a trial. The parties are jointly
requesting that the Court exclude the time from today’s date through September 5, 2023, to
allow the parties to focus on those discussions instead of trial preparation. The parties
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respectfully submit that the ends of justice served by such an excludable delay outweigh the
best interests of the public and the defendant in a speedy trial.



                                             Respectfully submitted,

                                             BREON PEACE
                                             United States Attorney


                                        By:__________________________
                                           Ryan C. Harris
                                           Anthony Bagnuola
                                           Laura Zuckerwise
                                           Assistant U.S. Attorneys
                                           (718) 254-7000

                                             COREY R. AMUNDSON
                                             Chief, Public Integrity Section
                                             U.S. Department of Justice


                                        By:__________________________
                                           Jacob R. Steiner
                                           John P. Taddei
                                           Trial Attorneys, Public Integrity Section
                                           U.S. Department of Justice


cc:      Counsel for Samuel Miele (by ECF)
         Clerk of the Court (JS) (by ECF)




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